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                                   7                                   UNITED STATES DISTRICT COURT

                                   8                                  NORTHERN DISTRICT OF CALIFORNIA

                                   9
                                           DANA GOLD, et al.,
                                  10                                                        Case No. 14-cv-05373-RS
                                                        Plaintiffs,
                                  11
                                                 v.                                         ORDER DENYING MOTION FOR
                                  12                                                        SUMMARY JUDGMENT
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                                           LUMBER LIQUIDATORS, INC.,
                                  13
                                                        Defendant.
                                  14

                                  15                                          I. INTRODUCTION

                                  16           This class action arises from a dispute over whether Defendant Lumber Liquidators, Inc.

                                  17   (“LL”) fraudulently omitted information about the susceptibility of its bamboo flooring to

                                  18   moisture-related damage. In November 2017, class certification was granted with respect to six

                                  19   state-specific classes.1 LL now moves for summary judgment with respect to all claims asserted

                                  20   against it or, in the alternative, partial summary judgment with respect to certain claims and issues.

                                  21   For the reasons set forth below, this motion is denied.

                                  22                                           II. BACKGROUND

                                  23           Plaintiffs Gold, Triana, Ference, Norris, Fursman, and Emery are the named plaintiffs for

                                  24   the California, Florida, Illinois, Minnesota, Pennsylvania, and West Virginia classes respectively.

                                  25   All six plaintiffs purchased and installed LL’s bamboo flooring in their homes, and shortly

                                  26
                                  27   1
                                        The six states represented in this suit are California, Florida, Illinois, Minnesota, Pennsylvania,
                                  28   and West Virginia.
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                                   1   thereafter allegedly began experiencing product defects. LL is a flooring retailer that sells, among

                                   2   other things, bamboo flooring under the brand “Morning Star Strand Bamboo Flooring.”

                                   3          LL represented this flooring as “durable” and “twice as hard as oak.” Thompson Decl., Ex.

                                   4   52, Ex. 53 at 14, Ex. 54 at 9. The flooring also came with a 30-year warranty, which warned that

                                   5   ambient moisture could cause checks, cupping, gapping and other issues. Furthermore, to recover

                                   6   under the terms of the warranty customers must maintain a relative humidity of 30% to 50% in

                                   7   their homes. While consumers were not necessarily presented with a full copy of the warranty

                                   8   prior to purchase, the terms of the warranty were available on LL’s website. Purchasers eventually

                                   9   received an invoice explaining how to obtain a copy of the full warranty terms.

                                  10          LL also provided purchasers with installation instructions. These instructions were

                                  11   modified several times over the course of the class period. The version available at the beginning

                                  12   of the class period advised purchasers to test subflooring for moisture, discussed the benefits of
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                                  13   installing a moisture barrier, and disclaimed liability for “moisture-related issues.” Lukitsch Decl.,

                                  14   Ex. H at 13. The instructions also warned that “failure to maintain humidity levels between 30-

                                  15   50%” could result in “edge cupping, sqeaking[,] delamination, splintering, or face checking.” Id.,

                                  16   Ex. H at 20. Later versions of the installation instructions expanded upon and repeated many of

                                  17   these disclosures.

                                  18          Despite these warning, LL received approximately 10,000 complaints related to movement

                                  19   of the bamboo flooring. LL staff acknowledged internally that “there is a product issue with the

                                  20   MS Bamboo” flooring. Thompson Decl., Ex. 19. Other internal documents indicate LL had

                                  21   misunderstood the expansion coefficient of bamboo. LL’s Director of Quality Assurance

                                  22   acknowledged moisture-related issues internally, stating that the flooring changed in width by

                                  23   30% more than expected. Despite these concerns, LL continued urging stores to sell Morning Star

                                  24   flooring and, in at least two instances, deleted negative online reviews describing shrinkage and

                                  25   expansion problems.

                                  26          During the relevant time period, LL sold over a hundred different styles (or “SKUs”) of

                                  27   bamboo flooring. LL sourced this flooring from ten independent providers: seven manufacturers

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                                   1   and three distributors.2 According to LL, it does not specify the manufacturing process used to

                                   2   create these products. Plaintiffs, however, proffer testimony and documentary evidence that the

                                   3   manufacturing processes and raw materials used to make LL’s bamboo flooring are functionally

                                   4   the same across different styles and manufacturers. Thompson Decl., Ex. 3 at 8, Ex. 4; see also

                                   5   Thompson Reply Decl., Ex. 80 at 50:23-51:3, 52:10-53:20, Ex. 85. Plaintiffs specifically contend

                                   6   LL’s bamboo flooring is manufactured based on a single set of technical specifications provided

                                   7   by LL. Furthermore, Plaintiffs’ experts tested 21 samples of bamboo flooring from four of LL’s

                                   8   manufacturers and found that the flooring failed under normal residential humidity conditions.

                                   9          In November 2017, class certification was granted with respect to six state-specific classes.

                                  10   These six classes included persons who had purchased LL’s bamboo flooring between 2008 and

                                  11   the present. The parties subsequently stipulated to, and the Court approved, a modification

                                  12   limiting the class period to 2012 to the present. LL now seeks summary judgment with respect to
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                                  13   all claims or, in the alternative, partial summary judgment with respect to certain discrete claims

                                  14   and issues.

                                  15                                        III. LEGAL STANDARD

                                  16          The purpose of summary judgment “is to isolate and dispose of factually unsupported

                                  17   claims or defenses.” Celotex Corp. v. Catrett, 477 U.S. 317, 323-24 (1986). Summary judgment is

                                  18   proper if there is no genuine dispute of material fact and the moving party is entitled to judgment

                                  19   as a matter of law. Fed. R. Civ. P. 56. The Court must ultimately decide “whether the ‘specific

                                  20   facts’ set forth by the nonmoving party, coupled with undisputed background or contextual facts,

                                  21   are such that a rational or reasonable jury might return a verdict in its favor based on that

                                  22   evidence.” T.W. Elec. Serv. v. Pac. Elec. Contractors, 809 F.2d 626, 631 (9th Cir. 1987). When

                                  23   making this evaluation, courts draw all reasonable inferences in favor of the non-moving party.

                                  24

                                  25   2
                                         LL represented at oral argument that the parties had come to an agreement that flooring from the
                                  26   three distributors would not be included in Plaintiffs’ case. Plaintiffs did not contest this
                                       representation, accordingly this order will only address flooring sourced from the seven
                                  27   manufacturers.

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                                   1   Masson v. New Yorker Magazine, Inc., 501 U.S. 496, 520-21 (1991).

                                   2                                            IV. DISCUSSION

                                   3          A. Summary Judgment on All Claims

                                   4          LL seeks summary judgment with respect to all claims asserted against it, arguing

                                   5   Plaintiffs cannot prove (1) the existence of any uniform defect, (2) LL’s knowledge of this

                                   6   purported defect, (3) any omission of said defect, or (4) Plaintiffs’ reliance on the alleged

                                   7   omission.3 First, LL argues Plaintiffs’ failure to identify the cause of the flooring’s purported

                                   8   inability to withstand typical residential humidity levels prevents them from establishing a

                                   9   uniform defect. According to LL, proving the flooring cannot “withstand typical and foreseeable

                                  10   residential ambient moisture” is insufficient unless Plaintiffs can identify “the specific process or

                                  11   specification” that caused the defect. Def. Mot. Summ. J. 20. LL further contends the absence of a

                                  12   uniform defect prevents Plaintiffs from showing LL had knowledge of any such defect. Finally,
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                                  13   LL argues disclosure of moisture-related problems in the installation instructions and warranty

                                  14   materials definitively proves the company did not fraudulently omit this information from its

                                  15   advertising.

                                  16          In response to LL’s argument regarding the absence of a uniform defect, Plaintiffs point to

                                  17   evidence that the challenged flooring was produced using the same basic process and raw

                                  18   materials. Plaintiffs also proffer expert testimony that a random sample of LL’s bamboo flooring

                                  19   was unable to withstand typical residential ambient moisture. Finally, Plaintiffs argue the

                                  20   consistent manner of failure across different styles of flooring purchased by consumers suggests a

                                  21   common defect. This evidence is sufficient to create a material dispute of fact regarding whether

                                  22   Morning Star flooring was uniformly unable to withstand typical residential humidity levels.

                                  23   While LL argues the specifications it provides to manufacturers are not sufficiently detailed to

                                  24   establish the existence of a common defect, that is ultimately a disputed question which must be

                                  25

                                  26   3
                                        LL appears to concede that reliance is not an element of all the claims at issue in this suit.
                                  27   Accordingly, this issue is more appropriately addressed on a state-by-state basis in Part B.3.

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                                   1   resolved at trial.

                                   2           Plaintiffs have also proffered evidence that LL staff were aware of, and actively discussed,

                                   3   moisture-related difficulties with the Morning Star flooring. Accordingly, there is, at a minimum,

                                   4   a material dispute of fact regarding LL’s knowledge of this purported defect. Finally, while it is

                                   5   true LL’s warranty materials and instruction manuals discuss moisture-related issues, there is a

                                   6   material dispute regarding whether these disclosures would put reasonable consumers on notice

                                   7   that their flooring would fail even under typical residential conditions. Moreover, the degree to

                                   8   which customers had access to these materials prior to purchase is unclear. Accordingly, LL’s

                                   9   motion for summary judgment on all claims is denied.

                                  10           B. Partial Summary Judgment

                                  11           In the event the motion for summary judgment on all claims is denied, LL seeks partial

                                  12   summary judgment with respect to (1) flooring from certain manufacturers, (2) certain styles of
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                                  13   flooring, and (3) various state claims.

                                  14               1. Lack of Testing of Flooring from Certain Manufacturers

                                  15           LL seeks summary judgment with respect to flooring sourced from three of the seven

                                  16   manufacturers, noting that Plaintiffs’ experts did not test or examine flooring from these sources.

                                  17   In the absence of direct evidence about the performance of flooring from these manufacturers, LL

                                  18   argues, partial summary judgment is appropriate. As discussed in Part A, Plaintiffs point to

                                  19   evidence that all Morning Star flooring was produced using the same raw materials and basic

                                  20   manufacturing process. In addition, Plaintiffs proffer expert testimony that samples from four of

                                  21   LL’s manufacturers were unable to withstand typical residential humidity. Together, this evidence

                                  22   is sufficient to permit a fact-finder to infer that all Morning Star flooring suffers from the same

                                  23   defect. Accordingly, partial summary judgment is denied with respect to this issue.

                                  24               2. Lack of Testing of Certain Styles/SKUs of Bamboo Flooring

                                  25           LL also seeks partial summary judgment with respect to any flooring styles that Plaintiffs’

                                  26   experts did not test or examine. As LL notes, Plaintiffs’ experts tested only 21 out of over a

                                  27   hundred SKUs. Plaintiffs, however, argue the evidence that the manufacturing process was

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                                   1   substantially the same across different flooring styles support a reasonable inference that the

                                   2   defects found in these samples affect all Morning Star flooring. Plaintiffs also point to the similar

                                   3   manner of failure across different SKUs as evidence that the same defect is present in all of LL’s

                                   4   bamboo flooring. Finally, Plaintiffs insist the question of whether the sample size was large

                                   5   enough to support these inferences remains a question of fact not properly resolved at summary

                                   6   judgment. Those arguments are persuasive for essentially the same reasons set forth in Part A and

                                   7   Part B.1. LL’s motion for partial summary judgment with respect to untested SKUs is therefore

                                   8   denied.

                                   9                3. Partial Summary Judgment with Respect to State Claims

                                  10                        a. California Class Claims

                                  11             The California Class advances three claims under California law: one under the Consumers

                                  12   Legal Remedies Act (“CLRA”), Cal. Civ. Code § 1750 et seq., and two under the Unfair
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                                  13   Competition Law (“UCL”), Cal. Bus. & Prof. Code § 17200 et seq. LL reprises its argument that

                                  14   Plaintiffs cannot establish a uniform defect, and therefore cannot show LL intended to conceal this

                                  15   defect, as required under the CLRA. See Wilson v. Hewlett-Packard Co., 668 F.3d 1136, 1145 (9th

                                  16   Cir. 2012). LL also argues customer complaints and online comments regarding moisture-related

                                  17   issues are insufficient to show LL was aware of the alleged defect. See Punian v. Gillette Co., No.

                                  18   14-cv-05028, 2015 WL 4967535, at *10-11 (N.D. Cal. Aug. 20, 2015).

                                  19             These arguments fail largely for the reasons explained in Part A. Additionally, with respect

                                  20   to intent, of consequence for summary judgment are internal communications indicating LL staff

                                  21   and management were aware of moisture-related problems yet deleted at least two customer

                                  22   complaints regarding floor movement. This evidence is sufficient to identify a material dispute of

                                  23   fact regarding whether LL intended to withhold pertinent information from consumers.

                                  24             LL further argues it had no duty to disclose moisture-related issues and challenges

                                  25   Plaintiffs’ ability to show reliance, as required under both the UCL and the CLRA. In LL’s view,

                                  26   named plaintiff Dana Gold’s admission that she read the written warranty agreement precludes

                                  27   any finding that she relied upon purported omissions in LL’s marketing materials. LL also

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                                   1   contends that a reasonable consumer would have read the warranty materials, thereby precluding

                                   2   any finding of class-wide reliance.

                                   3          A duty to disclose, however, exists when a defendant has “exclusive knowledge of material

                                   4   facts not known to the plaintiff.” Norcia v. Samsung Telecomm. Am., LLC, No. 14-cv-00582, 2015

                                   5   WL 4967247, at *6 (N.D. Cal. Aug. 20, 2015) (quoting LiMandri v. Judkins, 52 Cal. App. 4th

                                   6   326, 336 (Cal. Ct. App. 1997)). According to Plaintiffs, LL had exclusive knowledge that its

                                   7   bamboo flooring would not withstand typical residential ambient humidity, whereas purchasers

                                   8   were left in the dark. Moreover, reliance can be established based on whether a reasonable person

                                   9   would consider the omission materially misleading. See McAdams v. Monier, Inc., 182 Cal. App.

                                  10   4th 174, 183-84 (Cal. Ct. App. 2010).

                                  11          Ultimately, Plaintiffs have presented sufficient evidence for a reasonable fact-finder to

                                  12   conclude LL had exclusive knowledge that its flooring tended to expand or otherwise deform,
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                                  13   even under typical residential conditions. With respect to reliance, there is a material dispute of

                                  14   fact over whether the warranty materials adequately disclosed moisture-related problems.

                                  15   Accordingly, summary judgment is denied with respect to Plaintiffs’ California claims.

                                  16                      b. Florida Class Claim

                                  17          The Florida class claim is based on Florida’s Deceptive and Unfair Trade Practices Act

                                  18   (“FDUTPA”). Fla. Stat. § 501.201 et seq. LL argues that, under this statute, a plaintiff must show

                                  19   the defendant knowingly concealed a material fact that the defendant had a duty to disclose.

                                  20   TransPetrol, Ltd. v. Radulovic, 764 So. 2d 878, 879-80 (Fla. Dist. Ct. App. 2000). According to

                                  21   LL, such a duty arises only in the context of a fiduciary relationship or some other relationship of

                                  22   confidence. Id. at 880. Plaintiffs respond with contrary authority holding that this claim does not

                                  23   depend upon any duty to disclose.4 In any event, Plaintiffs argue, a duty to disclose generally

                                  24   arises where a party to a transaction “has knowledge of material facts to which the other party

                                  25

                                  26   4
                                        Morris v. ADT Sec. Servs., 580 F. Supp. 2d 1305, 1310 (S.D. Fla. 2008); Velasco v. Chrysler
                                  27   Grp., LLC, No. cv 13-0808, 2014 WL 4187796, at *8 (C.D. Cal. Aug. 22, 2014).

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                                   1   does not have access.” Hooper v. Barnett Bank of W. Fla., 474 So. 2d 1253, 1257 (Fla. 1985); see

                                   2   also TransPetrol, 764 So. 2d at 880. Here, Plaintiffs argue, LL had superior knowledge that its

                                   3   bamboo flooring would not withstand normal variations in relative humidity and therefore had a

                                   4   duty to disclose these shortcomings.

                                   5            Plaintiffs’ argument is persuasive. The case relied upon by LL to establish a duty to

                                   6   disclose as an element of a FDUTPA claim, TransPetrol, did not specifically deal with this statute.

                                   7   Ultimately, the district court cases holding that there is no duty to disclose requirement under

                                   8   FDUTPA are more relevant and persuasive. Even were there a duty to disclose requirement under

                                   9   this statute, Plaintiffs have provided sufficient evidence to enable a fact-finder reasonably to

                                  10   conclude LL had superior knowledge of the flooring’s moisture-related problems, and therefore

                                  11   had a duty to disclose these issues. Accordingly, summary judgment is denied with respect to this

                                  12   claim.
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                                  13                       c. Illinois Class Claim

                                  14            The Illinois class alleges a claim under the Illinois Consumer Fraud and Deceptive

                                  15   Business Practices Act. 815 Ill. Comp. Stat. 505/1 et seq. Under this act, Plaintiffs must establish

                                  16   (1) LL had knowledge of the omitted information, (2) the omitted information was material, and

                                  17   (3) LL intended to induce customer reliance on this omission. Miller v. William Chevrolet/Geo,

                                  18   Inc., 762 N.E.2d 1, 14-15 (Ill. App. Ct. 2001). According to LL, Plaintiffs cannot show LL

                                  19   intended to induce reliance on an omission of information about the bamboo flooring’s

                                  20   susceptibility to damage because LL disclosed the possibility of moisture-related complications in

                                  21   the warranty materials and installation instructions.

                                  22            As explained in Part A, there are material disputes of fact regarding when consumers

                                  23   received these materials and whether they adequately disclosed the extent of Morning Star

                                  24   flooring’s susceptibility to damage from ambient moisture. Furthermore, Plaintiffs argue LL’s

                                  25   statements regarding the strength and durability of bamboo flooring suggests a desire to conceal

                                  26   the product’s tendency to buckle or otherwise deform. Ultimately, despite the disclosures in the

                                  27   warranty materials and installation instructions, Plaintiffs have provided sufficient evidence to

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                                   1   allow a reasonable jury to conclude LL intentionally withheld information about the flooring’s

                                   2   moisture-related problems.

                                   3          In the event the Illinois claim survives summary judgment, LL seeks partial summary

                                   4   judgment with respect to punitive damages. Under the Illinois statute, punitive damages are

                                   5   available where a defendant’s conduct is “characterized by wantonness, malice, oppression,” or

                                   6   other aggravating circumstances. Clodfelter v. United Processing, Inc., No. 08-cv-2131, 2008 WL

                                   7   4225557, at *5 (C.D. Ill. Sept. 12, 2008) (quotation omitted). In light of the disclosures in the

                                   8   warranty materials and installation instructions, LL argues, Plaintiffs cannot plausibly show that

                                   9   any lack of disclosure was willful or malicious. Plaintiffs, however, point to internal emails by LL

                                  10   staff stating that the flooring was failing, even when the installation guidelines were followed.

                                  11   Accordingly, Plaintiffs argue, they have presented a triable issue regarding whether LL’s

                                  12   continued advertising and sale of this product despite concealed defects merits punitive damages.
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                                  13   Ultimately, there is sufficient evidence for a reasonable fact-finder to conclude LL deliberately

                                  14   sold defective flooring and hid these defects from consumers. Accordingly, LL’s request to

                                  15   foreclose punitive damages on this claim through summary judgment is denied.

                                  16                      d. Minnesota Class Claim

                                  17          The Minnesota class brings a claim under Minnesota’s Consumer Fraud Act. Minn. Stat.

                                  18   Ann. § 325F.68 et seq. Under Minnesota law, a party to a transaction is generally not obligated to

                                  19   disclose all material facts. Graphic Commc’ns Local 1B Health & Welfare Fund “A” v. CVS

                                  20   Caremark Corp., 850 N.W. 2d 682, 697-98 (Minn. 2014). Only “special circumstances may

                                  21   trigger a duty to disclose material facts,” including “a confidential or fiduciary relationship,”

                                  22   “special knowledge of material facts,” or a need to speak to prevent an affirmative communication

                                  23   from misleading another party. Id. According to LL, no such special circumstances exist here.

                                  24          The Minnesota statute also requires proof of actual reliance on the claimed omission. See

                                  25   Higgins v. Harold-Chevrolet-Geo, Inc., No. A04-596, 2004 Minn. App. LEXIS 1303, at *10

                                  26   (Minn. Ct. App. Nov. 23, 2004). According to LL, class representative Laura Norris admitted to

                                  27   reading through the installation instructions and the invoice advising her of the availability of a

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                                   1   written warranty for the product. This admission, LL contends, prevents Norris from showing she

                                   2   relied on any omission regarding moisture-related problems.

                                   3          Plaintiffs respond that LL had a duty to disclose based on its prior statements that the

                                   4   bamboo flooring was “durable” and “hard as oak.” Furthermore, Plaintiffs contend, LL had special

                                   5   knowledge of the defects in its products and therefore had a duty to disclose for this reason as

                                   6   well. With respect to reliance, Plaintiffs note that Norris was not provided with the complete

                                   7   warranty until after she purchased her flooring. In any event, Plaintiffs contend the information

                                   8   contained in the installation instructions and warranty documents would not put a consumer on

                                   9   notice of the flooring’s defects.

                                  10          Once again, Plaintiffs’ arguments are persuasive. Plaintiffs have adduced sufficient

                                  11   evidence for a reasonable fact-finder to conclude LL had special knowledge about the defects in

                                  12   its flooring and therefore had a duty to disclose these defects to customers. Finally, the question of
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                                  13   reliance is subject to a material dispute regarding whether the warranty documents and instruction

                                  14   manuals put Norris on notice that the bamboo flooring might fail even under normal residential

                                  15   conditions. Accordingly, summary judgment is denied with respect to the Minnesota class claim.

                                  16                      e. Pennsylvania Class Claim

                                  17          The Pennsylvania claim arises under Pennsylvania’s Unfair Trade Practices and Consumer

                                  18   Protection Law. 73 P.S. § 201-1 et seq. Federal courts in Pennsylvania have held that “silence

                                  19   cannot amount to fraud in the absence of a duty to speak.” See e.g., Gaines v. Krawczyk, 354 F.

                                  20   Supp. 2d 573, 585-86 (W.D. Pa. 2004) (quotation omitted). According to LL, the company had no

                                  21   duty to disclose the alleged defects because there was no confidential or fiduciary relationship

                                  22   between the parties. See id.

                                  23          Under Pennsylvania law, however, a duty to speak may arise outside the context of a

                                  24   fiduciary relationship. In particular, a duty arises where a party to a transaction is the sole source

                                  25   of information about the product, or the defects in the product are not reasonably discoverable to

                                  26   the purchaser. See Duquesne Light Co. v. Westinghouse Electric Corp., 66 F.3d 604, 612 (3d Cir.

                                  27   1995); Zwiercan v. Gen. Motors. Corp., 58 Pa. D. & C. 4th 251, 2002 WL 3105383, at *3 (Pa.

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                                   1   Com. Pl. 2002); see also Gaines, 354 F. Supp. 2d at 586 (acknowledging that a duty to speak may

                                   2   arise even outside of a confidential or fiduciary relationship). Plaintiffs argue LL was the only

                                   3   source of information about the reliability of its bamboo flooring. Accordingly, they insist, a

                                   4   reasonable jury could conclude LL had a duty to disclose the flooring’s inability to withstand

                                   5   typical residential conditions.

                                   6          Plaintiffs have the stronger argument. Plaintiffs have adduced sufficient evidence to enable

                                   7   a reasonable fact-finder to conclude the defects in LLs flooring were not reasonably discoverable

                                   8   prior to purchase, thereby giving rise to a duty to disclose under Pennsylvania law. Accordingly,

                                   9   summary judgment is denied with respect to the Pennsylvania claim.5

                                  10                      f. West Virginia Class Claim

                                  11          The West Virginia claim arises under West Virginia’s Consumer Credit and Protection

                                  12   Act. W. Va. Code § 46A-6-101. This statute provides for relief where a plaintiff has shown “the
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                                  13   concealment, suppression or omission of any material fact” and that the defendant intended for

                                  14   consumers to rely on that omission. Id. § 46A-6-102(7)(M). LL ultimately reprises its arguments

                                  15   that Plaintiffs cannot show the existence of a uniform defect, that LL had knowledge of said

                                  16   defect, that LL intended to omit material facts, or that LL in fact concealed moisture-related

                                  17   problems. As each of these arguments has already been rejected, summary judgment is denied

                                  18   with respect to the West Virginia claim.

                                  19          C. Motions to Seal

                                  20          LL and Plaintiffs each seek to seal documents associated with this motion for summary

                                  21   judgment. See Dockets 241, 247, 251. These requests to seal are proper, with two exceptions.

                                  22   First, LL seeks to seal the Simpson Gumpertz & Heger (“SGH”) report in its entirety. See Docket

                                  23   241-21. This request is clearly too broad. In particular, SGH’s methods, observations, and

                                  24   conclusions are likely not sealable. To the extent that the SGH report discloses sensitive sales data,
                                       pricing information, or information about LL’s business strategy, these facts may be redacted.
                                  25

                                  26   5
                                         LL’s remaining arguments regarding the Pennsylvania claim reprise arguments already rejected
                                  27   in the preceding sections of this order.

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                                   1   Most of this report should, however, be made available to the public. Plaintiffs’ redactions of their

                                   2   opposition brief are similarly overbroad. Docket 247-4. For example, general statements by LL

                                   3   staff regarding customer complaints and moisture-related problems with the bamboo flooring are

                                   4   not sealable. Similarly, general statements that LL’s bamboo flooring is manufactured using the

                                   5   same raw materials and basic process does not appear particularly sensitive. These are merely a
                                       few examples of the sorts of statements that cannot appropriately be sealed.
                                   6
                                               The parties shall meet and confer in an attempt to agree on the narrowest possible sealing
                                   7
                                       order with respect to these two documents and shall jointly submit such a proposed order no later
                                   8
                                       than January 18, 2019. The proposed order shall clearly identify the portions of these two
                                   9
                                       documents that the parties agree should be filed under seal and concisely state the basis for such
                                  10
                                       sealing consistent with Local Rule 79-5. The parties’ remaining requests to seal are granted.
                                  11
                                                                               IV. CONCLUSION
                                  12
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                                               For the reasons set forth above, LL’s motion for summary judgment is denied in its
 United States District Court




                                  13
                                       entirety.
                                  14

                                  15

                                  16
                                       IT IS SO ORDERED.
                                  17

                                  18
                                       Dated: 01/02/2019
                                  19
                                                                                        ______________________________________
                                  20                                                    RICHARD SEEBORG
                                                                                        United States District Judge
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                                  28                                                           ORDER DENYING MOTION FOR SUMMARY JUDGMENT
                                                                                                                CASE NO. 14-cv-05373-RS
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